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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA                                            RESPONDENT

VS.                                  CIVIL ACTION NO. 1:05cv21-DCB-JCS
                                             CRIMINAL NO. 1:03cr13-DCB

MELVIN EUGENE WILLARD                                               PETITIONER


                               FINAL JUDGMENT

      This matter came before the Court on Melvin Eugene Willard’s

Motion to Set Aside, Correct and Reverse Waiver to Contest the

Conviction and or Sentence Also Culpability Enhancement of Sentence

under Title 28 § 2255 [docket entry no. 1 in Civil Action No.

1:05cv21].    The Court dismissed the petition/motion in a separate

Order.   Accordingly,

      IT IS HEREBY ORDERED AND ADJUDGED that this civil action is

dismissed with prejudice.

      SO ORDERED AND ADJUDGED, this the 20th day of April, 2006.



                                              S/DAVID BRAMLETTE
                                              UNITED STATES DISTRICT JUDGE
